Case 3:19-bk-30822        Doc 165    Filed 02/07/20 Entered 02/10/20 10:17:43       Desc Main
                                    Document      Page 1 of 2



 This document has been electronically entered in the records of the United
 States Bankruptcy Court for the Southern District of Ohio.

 IT IS SO ORDERED.




 Dated: February 7, 2020




                             UNITED STATES BANKRUPTCY COURT
                            FOR THE SOUTHERN DISTRICT OF OHIO
                               WESTERN DIVISION AT DAYTON

 In re: TAGNETICS INC.,                           Case No.    19‐30822

                                                  Judge Humphrey
                                                  Chapter 7


                     Order Adjourning Contested Matter (Docs. 134 & 154)


        This matter is before the court on the oral motion of Tagnetics Inc. to adjourn its
 Application for Attorneys’ Fees as Compensatory Damages Pursuant to the Court’s October 25,
 2019 Order (doc. 134) and Petitioning Creditors Response to Tagnetics Application for Attorney
 Fees as Compensatory Damages (doc. 154) (the “Contested Matter”) pending adjudication of
 Tagnetics’ appeal of the court’s Order Granting in Part Tagnetics’ Motion to Enforce
 Settlement Agreement and Ordering Other Matters (doc. 119). See doc. 124 (notice of appeal).

         On January 28, 2020, the court held a telephonic hearing on the Contested Matter,
 participated in Robert R. Kracht and Stephen B. Stern, counsel for Tagnetics Inc., and
 remaining Petitioning Creditors Kenneth W. Kayser, Ronald E. Early, and Jonathan Hager.

        Based upon the parties’ arguments and at the request of the Applicant, the court
 grants Tagnetics’ request. Accordingly, the Contested Matter is hereby adjourned pending
 the entry of any final judgment on Tagnetics’ appeal in United States District Court,
 Southern District of Ohio, Case No. 3:19‐cv‐00363‐TMR. Within 14 days of the issuance of the
 final order disposing of Tagnetics’ appeal, Tagnetics shall file a notice with this court
Case 3:19-bk-30822      Doc 165    Filed 02/07/20 Entered 02/10/20 10:17:43          Desc Main
                                  Document      Page 2 of 2



 advising the court of the conclusion of the appeal. Upon receipt of such filing, the court will
 issue an appropriate order.

        IT IS SO ORDERED.

 Copies to: All Creditors and Parties in Interest, Plus
 Douglas S. Draper, 650 Poydras Street, Suite 2500, New Orleans, Louisiana 70130
 Leslie A. Collins, 650 Poydras Street, Suite 2500, New Orleans, Louisiana 70130




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